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                      3   178 E. Prospect Avenue
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                          Telephone: (925) 362-9999
                      5   Facsimile: (925) 362-9970
                      6
                          [Additional Counsel Listed on Signature Page]
                      7

                      8   Attorneys for Plaintiff
                          PATRICK & GEOFF INVESTMENTS INC
                      9   d/b/a THE HIDEAWAY STEAKHOUSE
                   10

                   11
                                                UNITED STATES DISTRICT COURT
                   12
                                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
                   13
                                                       WESTERN DIVISION
                   14

                   15
                          PATRICK & GEOFF INVESTMENTS Case No. 2:20-cv-5140
                   16     INC d/b/a THE HIDEAWAY
                   17     STEAKHOUSE,                 COMPLAINT
                   18
                                        Plaintiff,                   JURY TRIAL DEMANDED
                   19
                                 v.
                   20

                   21     THE HARTFORD and SENTINEL
                          INSURANCE COMPANY, LIMITED,
                   22

                   23                   Defendants.
                   24

                   25           Plaintiff Patrick & Geoff Investments Inc d/b/a The Hideaway Steakhouse
                   26     (“Plaintiff”) brings this Complaint against Defendants The Hartford and Sentinel
                   27     Insurance Company, Limited (“Defendants”) and, upon information and belief,
                   28     alleges as follows:
Birka-White Law Offices
178 E. Prospect Avenue
  Danville, CA 94526
                                                               -1-                       Case No.: 2:20-cv-5140
    (925) 362-9999
                          COMPLAINT
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                      1                                NATURE OF THE CASE
                      2         1.     This is a civil action seeking declaratory relief arising from Plaintiff’s
                      3   contracts of insurance with Defendants.
                      4         2.     In light of the Coronavirus global pandemic and state and local orders
                      5   mandating that all non-essential in store businesses must shut down on March 16,
                      6   2020, Plaintiff’s restaurants have suffered business loss.
                      7         3.     Plaintiff’s insurance policies provide coverage for all non-excluded
                      8   business losses, and thus provide coverage here.
                      9         4.     As a result, Plaintiff is entitled to declaratory relief that its business is
                   10     covered for all business losses that have been incurred in an amount greater than
                   11     $150,000.00.
                   12                               JURISDICTION AND VENUE
                   13           5.     This Court has subject matter jurisdiction over this action pursuant to 28
                   14     U.S.C. § 1332, because there is complete diversity of citizenship between Plaintiff
                   15     and Defendants. Plaintiff has suffered business losses at each restaurant in an amount
                   16     greater than $150,000.00. The amount in controversy necessary for diversity
                   17     jurisdiction over a declaratory judgment action is measured by the value of those
                   18     business losses. Id. § 1332(a).
                   19           6.     This Court has personal jurisdiction over Defendants. Defendants have
                   20     engaged in substantial business in this District, including the formation of the Policies
                   21     underlying Plaintiff’s claims, and Defendants have therefore personally availed
                   22     themselves of jurisdiction in this District.
                   23           7.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2)
                   24     because a substantial part of the events or omissions giving rise to Plaintiff’s claims
                   25     occurred in this District, including the formation of the Policies underlying Plaintiff’s
                   26     claims.
                   27

                   28
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                      1                                           PARTIES
                      2         8.     Plaintiff is a California corporation that owns and operates a restaurant,
                      3   The Hideaway Steakhouse, located at 4137 E Anaheim Street, Long Beach, CA
                      4   90804. Plaintiff is owned by Patrick Malone, Geoffery Rau, and Susan Hartert, who
                      5   are all citizens of California.
                      6         9.     Defendant The Hartford (“Hartford”) is an insurance carrier that
                      7   provides business interruption insurance to Plaintiff. Defendant Hartford is
                      8   headquartered at One Hartford Plaza, Hartford, Connecticut 06155. Defendant
                      9   Hartford is a citizen of Connecticut.
                   10           10.    Defendant Sentinel Insurance Company, Limited (“Sentinel”) is an
                   11     insurance company affiliated with Hartford that insured Plaintiff for business
                   12     interruption insurance. Defendant Sentinel is headquartered at One Hartford Plaza,
                   13     Hartford, Connecticut 06155. Defendant Sentinel is a citizen of Connecticut.
                   14                                 FACTUAL ALLEGATIONS
                   15     I.    Insurance Coverage
                   16           11.    At all relevant times, Defendants issued a policy to Plaintiff to cover
                   17     business interruption loss from December 11, 2019 until December 11, 2020 for its
                   18     restaurant at 4137 E Anaheim Street, Long Beach, CA 90804 (the “Insured
                   19     Property”). The policy number is 57 SBA BM4526 DX. This policy was intended to
                   20     cover losses to business interruption. See Declaration, attached hereto as Exhibit 1
                   21     (the “Policy”).
                   22           12.    The Policy is currently in full effect in providing, among other things,
                   23     personal property, business income and extra expense, contamination coverage and
                   24     additional coverage.
                   25           13.    Plaintiff submitted a claim for a date of loss pursuant to its Policy
                   26     seeking coverage under this policy. Defendants rejected Plaintiff’s claim for
                   27     coverage for business loss and business interruption and other claims, contending,
                   28     inter alia, that Plaintiff did not suffer physical damage to its property directly and
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                      1   stating other reasons why Plaintiff purportedly is not entitled to coverage for the
                      2   losses and damages. Defendants also claimed the Policy does not cover losses due to
                      3   the Virus Exclusion Clause.
                      4         14.    Plaintiff faithfully paid policy premiums to Defendants, specifically to
                      5   provide, among other things, additional coverages in the event of business
                      6   interruption or closures by order of Civil Authority and for business loss for property
                      7   damage.
                      8         15.    Under the Policy, insurance is extended to apply to the actual loss of
                      9   business income sustained and the actual, necessary and reasonable extra expenses
                   10     incurred when access to the Insured Property is specifically prohibited by order of
                   11     civil authority as the direct result of a covered cause of loss to property in the
                   12     immediate area of Plaintiff’s Insured Property. This additional coverage is identified
                   13     as coverage under “Civil Authority.”
                   14           16.    The Policy is an all-risk policy, insofar as it provides that covered causes
                   15     of loss under the policy means coverage for all covered losses, including but not
                   16     limited to direct physical loss or direct physical damage, unless the loss is specifically
                   17     excluded or limited in the Policy.
                   18           17.    The Policy also covers for damages resulting from business interruption
                   19     when there is property damage. The exclusion for viruses does not apply to this
                   20     pandemic. The Policy does not identify any exclusions for a pandemic.
                   21           18.    Based on information and belief, Defendants have accepted the policy
                   22     premiums with no intention of providing any coverage for business losses or the Civil
                   23     Authority extension due to a loss and shutdown and property damage.
                   24     II.   The Coronavirus Pandemic
                   25           19.    The scientific community, and those personally affected by the virus,
                   26     recognize the Coronavirus as a cause of real physical loss and damage. It is clear that
                   27     contamination of the Insured Property would be a direct physical loss requiring
                   28     remediation to clean the surfaces of the business.
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                      1          20.    The virus that causes COVID-19 remains stable and transmittable in
                      2   aerosols for up to three hours, up to four hours on copper, up to 24 hours on
                      3   cardboard and up to two to three days on plastic and stainless steel. See
                      4   https://www.nih.gov/news-events/news-releases/new-coronavirus-stable-hours-
                      5   surfaces (last visited April 9, 2020).
                      6          21.    The CDC has issued a guidance that gatherings of more than 10 people
                      7   must not occur. People in congregate environments, which are places where people
                      8   live, eat, and sleep in close proximity, face increased danger of contracting COVID-
                      9   19.
                   10            22.    The global Coronavirus pandemic is exacerbated by the fact that the
                   11     deadly virus physically infects and stays on surfaces of objects or materials,
                   12     “fomites,” for up to twenty-eight (28) days.
                   13            23.    China, Italy, France, and Spain have implemented the cleaning and
                   14     fumigating of public areas prior to allowing them to re-open publicly due to the
                   15     intrusion of microbials.
                   16     III.   Civil Authority
                   17            24.    On March 4, 2020, the State of California declared a State of Emergency
                   18     for the entire state of California as a result of COVID-19.
                   19            25.    On March 11, 2020, the State of California set restrictions on large
                   20     gatherings.
                   21            26.    On March 16, 2020, the State of California prohibited all gatherings
                   22     regardless of size. This order effectively shut down all non-essential businesses.
                   23            27.    On March 17, 2020, the State of California issued a stay at home order
                   24     that all non-essential workers must stay at home as a result of COVID-19. This order
                   25     has been extended indefinitely.
                   26            28.    On May 29, 2020, Plaintiff’s business was able to begin re-opening.
                   27            29.    Plaintiff’s business was unable to operate due to the stay-at-home orders
                   28     for public safety issued by the State of California (the “Orders”). Plaintiff has
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                      1   submitted a claim to its insurance carriers related to such losses, but Defendants
                      2   denied Plaintiff’s claims.
                      3         30.    Further, on April 10, 2020, President Trump seemed to support
                      4   insurance coverage for business loss like that suffered by the Plaintiff.
                      5                REPORTER: Mr. President may I ask you about credit
                                       and debt as well. Many American individuals, families,
                      6                have had to tap their credit cards during this period of
                                       time. And businesses have had to draw down their credit
                      7                lines. Are you concerned Mr. President that that may
                                       hobble the U.S. economy, all of that debt number one?
                      8                And number two, would you suggest to credit card
                                       companies to reduce their fees during this time?
                      9
                                       PRESIDENT TRUMP: Well it’s something that we’ve
                   10                  already suggested, we’re talking to them. Business
                                       interruption insurance, I’d like to see these insurance
                   11                  companies—you know you have people that have paid.
                                       When I was in private I had business interruption. When
                   12                  my business was interrupted through a hurricane or
                                       whatever it may be, I’d have business where I had it, I
                   13                  didn’t always have it, sometimes I had it, sometimes, I
                                       had a lot of different companies. But if I had it I’d expect
                   14                  to be paid. You have people. I speak mostly to the
                                       restaurateurs, where they have a restaurant, they’ve been
                   15                  paying for 25, 30, 35 years, business interruption.
                                       They’ve never needed it. All of a sudden they need it.
                   16                  And I’m very good at reading language. I did very well in
                                       these subjects, OK. And I don’t see the word pandemic
                   17                  mentioned. Now in some cases it is, it’s an exclusion. But
                                       in a lot of cases I don’t see it. I don’t see it referenced.
                   18                  And they don’t want to pay up. I would like to see the
                                       insurance companies pay if they need to pay, if it’s fair.
                   19                  And they know what’s fair, and I know what’s fair, I can
                                       tell you very quickly. But business interruption insurance,
                   20                  that’s getting a lot money to a lot of people. And they’ve
                                       been paying for years, sometimes they just started paying,
                   21                  but you have people that have never asked for business
                                       interruption insurance, and they’ve been paying a lot of
                   22                  money for a lot of years for the privilege of having it, and
                                       then when they finally need it, the insurance company
                   23                  says ‘we’re not going to give it.’ We can’t let that happen.
                   24     See https://youtu.be/_cMeG5C9TjU (last visited on April 17, 2020) (emphasis
                   25     added).
                   26

                   27

                   28
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                      1          31.    The President is articulating a few core points:
                      2                 a. Business interruption is a common type of insurance.
                      3                 b. Businesses pay in premiums for this coverage and should reasonably
                      4                    expect they’ll receive the benefit of the coverage.
                      5                 c. This pandemic should be covered unless there is a specific exclusion
                                           for pandemics.
                      6

                      7                 d. If insurers deny coverage, they would be acting in bad faith.
                      8          32.    These Orders and proclamations, as they relate to the closure of all “non-
                      9   life- sustaining businesses,” evidence an awareness on the part of both state and local
                   10     governments that COVID-19 causes damage to property. This is particularly true in
                   11     places where business is conducted, such as Plaintiff’s, as the requisite contact and
                   12     interaction causes a heightened risk of the property becoming contaminated.
                   13     IV.    Impact on Plaintiff
                   14            33.    As a result of the Orders referenced herein, Plaintiff shut its doors to its
                   15     restaurant.
                   16            34.    Plaintiff’s business loss occurred when the State of California issues its
                   17     order on March 16, 2020 banning any gatherings at an establishment.
                   18            35.    Prior to March 16, 2020, Plaintiff’s business was open. Plaintiff’s
                   19     Insured Property is not a closed environment, and because people – staff, customers,
                   20     community members, and others – constantly cycle in and out, there is an ever-
                   21     present risk that the Insured Property is contaminated and would continue to be
                   22     contaminated.
                   23            36.    Businesses like Plaintiff’s are more susceptible to being or becoming
                   24     contaminated, as both respiratory droplets and fomites are more likely to be retained
                   25     on the Insured Property and remain for far longer as compared to a facility with open-
                   26     air ventilation.
                   27            37.    Plaintiff’s Insured Property is also highly susceptible to rapid person-to-
                   28     property transmission of the virus, and vice-versa, because the service nature of the
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                      1   business places staff and customers in close proximity to the property and to one
                      2   another and because the nature of the business exposes people to high levels of
                      3   respiratory droplets and fomites being released into the air of the property.
                      4           38.   The virus is physically impacting Plaintiff. Any effort by Defendants to
                      5   deny the reality that the virus causes physical loss and damage would constitute a
                      6   false and potentially fraudulent misrepresentation that could endanger Plaintiff and
                      7   the public.
                      8           39.   A declaratory judgment determining that the coverage provided under
                      9   the Policy exists and is necessary so as to prevent Plaintiff from being left without
                   10     vital coverage acquired to ensure the survival of the business due to the shutdown
                   11     caused by the civil authorities’ response. As a result of these Orders, Plaintiff has
                   12     incurred, and continues to incur, among other things, a substantial loss of business
                   13     income and additional expenses covered under the Policy.
                   14                                    CAUSE OF ACTION
                   15                                 DECLARATORY RELIEF
                   16             40.   Plaintiff re-alleges and incorporates by reference into this cause of
                   17     action each and every allegation set forth in each and every paragraph of this
                   18     Complaint.
                   19             41.   The Declaratory Judgment Act, 28 U.S.C. § 2201(a), provides that in “a
                   20     case of actual controversy within its jurisdiction . . . any court of the United States
                   21     . . . may declare the rights and other legal relations of any interested party seeking
                   22     such declaration, whether or not further relief is or could be sought.” 28 U.S.C. §
                   23     2201(a).
                   24             42.   An actual controversy has arisen between Plaintiff and Defendants as to
                   25     the rights, duties, responsibilities and obligations of the parties under the Policy in
                   26     that Plaintiff contends and, on information and belief, Defendants dispute and deny
                   27     that:
                   28
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                      1                a. The Orders constitute a prohibition of access to Plaintiff’s Insured
                      2                   Property;

                      3                b. The prohibition of access by the Orders has specifically prohibited
                                          access as defined in the Policy;
                      4

                      5                c. The Policy’s Exclusion of Loss Due to Virus or Bacteria does not
                                          apply to the business losses incurred by Plaintiff here. These
                      6                   exclusions do not apply to the pandemic;
                      7
                                       d. The Orders trigger coverage;
                      8
                                       e. The Policy provides coverage to Plaintiff for any current and future
                      9                   civil authority closures of business in California due to physical
                   10                     loss/or damage directly or indirectly from the Coronavirus under the
                                          Civil Authority coverage parameters. The Policy does not exclude
                   11                     coverage for the pandemic;
                   12
                                       f. The Policy provides business income coverage in the event that
                   13                     Coronavirus has directly or indirectly caused a loss or damage at the
                                          Insured Property or immediate area of the Insured Property; and
                   14

                   15                  g. Resolution of the duties, responsibilities and obligations of the
                                          parties is necessary as no adequate remedy at law exists and a
                   16                     declaration of the Court is needed to resolve the dispute and
                   17                     controversy.
                   18           43.    Plaintiff seeks a Declaratory Judgment to determine whether the Orders
                   19     constitute a prohibition of access to Plaintiff’s Insured Property as Civil Authority as
                   20     defined in the Policy.
                   21           44.    Plaintiff further seeks a Declaratory Judgment to affirm that the Orders
                   22     trigger coverage.
                   23           45.    Plaintiff further seeks a Declaratory Judgment to affirm that the Policy
                   24     provides coverage to Plaintiff for any current and future Civil Authority closures of
                   25     businesses in the State of California due to physical loss or damage from the
                   26     Coronavirus and that the Policy provides business income coverage in the event that
                   27     Coronavirus has caused a loss or damage at the Insured Property.
                   28
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                      1                               PRAYER FOR RELIEF
                      2        WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:
                      3              a. For a declaration that the Orders constitute a prohibition of access to
                                        Plaintiff’s Insured Property.
                      4

                      5              b. For a declaration that the prohibition of access by the Orders is
                                        specifically prohibited access as defined in the Policy.
                      6
                                     c. For a declaration that the Orders trigger coverage under the Policy.
                      7

                      8              d. For a declaration that Policy provides coverage to Plaintiff for any
                                        current, future and continued civil authority closures of businesses in
                      9                 California due to physical loss or damage directly or indirectly from
                   10                   the Coronavirus under the Civil Authority coverage parameters.
                   11                e. For a declaration that the Policy provides business income coverage
                                        in the event that Coronavirus has directly or indirectly caused a loss
                   12
                                        or damage at Plaintiff’s Insured Property or the immediate area of
                   13                   Plaintiff’s Insured Property.
                   14                f. For such other relief as the Court may deem proper.
                   15
                                                   JURY TRIAL DEMANDED
                   16
                               Plaintiff hereby demands trial by jury.
                   17

                   18
                          Dated: June 10, 2020                Respectfully submitted,
                   19

                   20                                         /s/ David M. Birka-White
                   21
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                   21
                                                    Rachel N. Boyd (Ala. Bar ID: 6320342)
                   22                               Paul W. Evans (AL Bar ID: 9270Z18F)
                                                    BEASLEY, ALLEN, CROW, METHVIN,
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                                                    Montgomery, AL 36103
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                                                    Telephone: (334) 269-2343
                   26                               Facsimile: (334) 954-7555
                                                    dee.miles@beasleyallen.com
                   27

                   28                               Counsel for Plaintiff
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            EXHIBIT 1
26CaseThis
       2:20-cv-05140-MWF-PVC
           Spectrum Policy consists of Document     1 Filed
                                       the Declarations,      06/10/20
                                                         Coverage           Page 13Policy
                                                                   Forms, Common       of 20Conditions
                                                                                               Page ID and#:13
                                                                                                            any
45    other Forms and Endorsements issued to be a part of the Policy. This insurance is provided by the stock
BM    insurance company of The Hartford Insurance Group shown below.
SBA
INSURER:  SENTINEL INSURANCE COMPANY, LIMITED
          ONE HARTFORD PLAZA, HARTFORD, CT 06155
COMPANY CODE: A

Policy Number:     57 SBA BM4526       DX

SPECTRUM POLICY DECLARATIONS

Named Insured and Mailing Address:              ROUNDIN3RD SPORTS BAR & GRILL
(No., Street, Town, State, Zip Code)            DBA THE HIDEAWAY
                                                4137 E ANAHEIM ST
                                                LONG BEACH         CA 90804

Policy Period:                 From        12/11/19           To     12/11/20        1     YEAR
12:01 a.m., Standard time at your mailing address shown above. Exception: 12 noon in New Hampshire.
Name of Agent/Broker: GUARDUS INS SVCS INC/PHS
Code: 141519

Previous Policy Number:         NEW

Named Insured is: LIMITED LIAB CORP

Audit Period: ANNUAL

Type of Property Coverage: SPECIAL

Insurance Provided: In return for the payment of the premium and subject to all of the terms of this policy, we
agree with you to provide insurance as stated in this policy.
 ____________________________________________________________________________________________________________________
TOTAL ANNUAL PREMIUM IS:            $17,103
IN RECOGNITION OF THE MULTIPLE COVERAGES INSURED WITH THE HARTFORD, YOUR
POLICY PREMIUM INCLUDES AN ACCOUNT CREDIT.




______________________________________________________________________________________________


                        Countersigned by                                                           12/13/19
                                                    Authorized Representative                       Date




Form SS 00 02 12 06                                         Page 001 (CONTINUED ON NEXT PAGE)
Process Date: 12/13/19                                                 Policy Expiration Date: 12/11/20
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 57 SBA BM4526

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 001          Building: 001

4137 E ANAHEIM ST
LONG BEACH               CA 90804

Description of Business:
Restaurant - Full Service (Waiter/Waitress)


Deductible: $ 1,000 PER OCCURRENCE



BUILDING AND BUSINESS PERSONAL PROPERTY               LIMITS OF INSURANCE

 BUILDING

                                                      NO COVERAGE




 BUSINESS PERSONAL PROPERTY

   REPLACEMENT COST                                   $     300,000


 PERSONAL PROPERTY OF OTHERS

   REPLACEMENT COST                                   NO COVERAGE

MONEY AND SECURITIES

 INSIDE THE PREMISES                                  $     10,000
 OUTSIDE THE PREMISES                                 $     10,000




Form SS 00 02 12 06                                          Page 002 (CONTINUED ON NEXT PAGE)
Process Date: 12/13/19                                              Policy Expiration Date: 12/11/20
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 57 SBA BM4526

Location(s), Building(s), Business of Named Insured and Schedule of Coverages for Premises as designated by
Number below.

Location: 001          Building: 001


PROPERTY OPTIONAL COVERAGES APPLICABLE                LIMITS OF INSURANCE
    TO THIS LOCATION


BACK-UP OF SEWERS AND DRAINS                          $      25,000
 COVERAGE FORM SS 04 53
RESTAURANT STRETCH
FORM: SS 04 11
THIS FORM INCLUDES MANY ADDITIONAL
COVERAGES AND EXTENSIONS OF
COVERAGES. A SUMMARY OF THE
COVERAGE LIMITS IS ATTACHED.
TENANT IMPROVEMENTS AND                               $     300,000
BETTERMENTS:

LIMITED FUNGI, BACTERIA OR VIRUS                      $      50,000
COVERAGE:
FORM SS 40 93
THIS IS THE MAXIMUM AMOUNT OF
INSURANCE FOR THIS COVERAGE,
SUBJECT TO ALL PROPERTY LIMITS
FOUND ELSEWHERE ON THIS
DECLARATION.
INCLUDING BUSINESS INCOME AND EXTRA
EXPENSE COVERAGE FOR:                                     30 DAYS




Form SS 00 02 12 06                                        Page 003 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 57 SBA BM4526




PROPERTY OPTIONAL COVERAGES APPLICABLE LIMITS OF INSURANCE
    TO ALL LOCATIONS

BUSINESS INCOME AND EXTRA EXPENSE
COVERAGE                                12 MONTHS ACTUAL LOSS SUSTAINED
COVERAGE INCLUDES THE FOLLOWING
COVERAGE EXTENSIONS:
ACTION OF CIVIL AUTHORITY:              30 DAYS
EXTENDED BUSINESS INCOME:               30 CONSECUTIVE DAYS

EQUIPMENT BREAKDOWN COVERAGE
DEDUCTIBLE:  $1,000 FORM: SS 40 65
 COVERAGE FOR DIRECT PHYSICAL LOSS
 DUE TO:
  MECHANICAL BREAKDOWN,
  ARTIFICIALLY GENERATED CURRENT
  AND STEAM EXPLOSION
THIS ADDITIONAL COVERAGE INCLUDES
THE FOLLOWING EXTENSIONS
  HAZARDOUS SUBSTANCES                  $    50,000
  EXPEDITING EXPENSES                   $    50,000
MECHANICAL BREAKDOWN COVERAGE ONLY
APPLIES WHEN BUILDING OR BUSINESS
PERSONAL PROPERTY IS SELECTED ON
THE POLICY
IDENTITY RECOVERY COVERAGE              $    15,000
FORM SS 41 12




Form SS 00 02 12 06                         Page 004 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 57 SBA BM4526


BUSINESS LIABILITY                      LIMITS OF INSURANCE

 LIABILITY AND MEDICAL EXPENSES         $2,000,000

 MEDICAL EXPENSES - ANY ONE PERSON      $     5,000

 PERSONAL AND ADVERTISING INJURY        $2,000,000


 DAMAGES TO PREMISES RENTED TO YOU      $1,000,000
     ANY ONE PREMISES

 AGGREGATE LIMITS
     PRODUCTS-COMPLETED OPERATIONS      $4,000,000

      GENERAL AGGREGATE                 $4,000,000


BUSINESS LIABILITY OPTIONAL
COVERAGES
HIRED/NON-OWNED   AUTO LIABILITY        $2,000,000
LIQUOR LIABILITY INSURANCE
FORM SS 04 03
  EACH COMMON CAUSE                     $1,000,000
  AGGREGATE                             $2,000,000




Form SS 00 02 12 06                         Page 005 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
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BUSINESS LIABILITY OPTIONAL COVERAGES   LIMITS OF INSURANCE
   (Continued)

CYBERFLEX COVERAGE
FORM SS 40 26

TENANT'S LEGAL LIABILITY COVERAGE
FORM SS 40 98
LOCATION: 001 BUILDING: 001             $1,000,000
UNMANNED AIRCRAFT LIABILITY
 IS EXCLUDED
 SEE FORM: SS 42 06




Form SS 00 02 12 06                       Page 006 (CONTINUED ON NEXT PAGE)
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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 57 SBA BM4526




Form Numbers of Forms and Endorsements that apply:


SS   00   01   03   14   SS   00   05   10   08   SS   00   07   07   05       SS   00   08   04   05
SS   00   38   04   04   SS   00   45   12   06   SS   00   60   09   15       SS   00   61   07   19
SS   00   64   09   16   SS   84   04   10   15   SS   01   21   03   17       SS   42   06   03   17
SS   04   03   10   08   SS   04   11   09   07   SS   04   19   04   09       SS   04   22   07   05
SS   04   30   07   05   SS   04   38   09   09   SS   04   39   07   05       SS   04   41   03   18
SS   04   42   03   17   SS   04   44   07   05   SS   04   45   07   05       SS   04   46   09   14
SS   04   47   04   09   SS   04   53   02   11   SS   04   80   03   00       SS   04   86   03   00
SS   40   18   07   05   SS   40   26   03   17   SS   40   65   07   05       SS   40   93   07   05
SS   40   98   04   05   SS   41   12   12   17   SS   41   32   09   06       SS   41   51   10   09
SS   41   63   06   11   IH   10   01   09   86   SS   05   10   03   00       SS   05   47   09   15
SS   50   57   04   05   SS   51   11   03   17   SS   50   19   01   15       IH   99   40   04   09
IH   99   41   04   09   SS   83   76   01   15   SS   89   93   07   16




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SPECTRUM POLICY DECLARATIONS (Continued)
POLICY NUMBER: 57 SBA BM4526


                             SUPPLEMENTAL DECLARATIONS:




A service fee of $   7.00 is charged for each installment when your premium is paid in
installments. The service fee is $   5.00 per withdrawal when you select an electronic
fund transfer payment plan. The service fee will be added to the premium amount
shown on your premium billing statement.




Form SS 00 45 12 06
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